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Counsel for Plaintiff Crocs, Inc.



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


CROCS, INC.,
                                                           Case No. 2:21-cv-13583-KSH-MAH
                                     Plaintiff,

                       v.

DR. LEONARD’S HEALTHCARE CORP.
D/B/A CAROL WRIGHT, STAR BAY GROUP
INC., 718CLOSEOUTS, ROYAL DELUXE
ACCESSORIES, LLC, and FUJIAN HUAYUAN
WELL IMPORT AND EXPORT TRADE CO.,
LTD.,

                                     Defendants.




                 NOTICE OF CERTIFICATION OF MICHAEL A. BERTA

TO THE CLERK OF THE COURT:

       PLEASE TAKE NOTICE that, pursuant to this Court’s Order dated August 30, 2022

(ECF No. 27), and in accordance with L. Civ. R. 54.2, Plaintiff Crocs, Inc. (“Crocs”) submits the

certification of Michael A. Berta and accompanying materials regarding Crocs’ reasonable

attorneys’ fees and costs.




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 Dated: September 29, 2022           Respectfully submitted,

                                     ARNOLD & PORTER KAYE SCHOLER LLP

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                                CERTIFICATE OF SERVICE

       I certify that, on September 29, 2022, a copy of this Notice was filed with the Clerk of the

Court using the CM/ECF system, which will forward it to all counsel of record.



                                                    /s/ Paul J. Fishman
                                                    Paul J.` Fishman




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